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AO 245B (SCDC Rev.02/18) Judgment in a Criminal Case Sheet 1



                            UNITED STATES DISTRICT COURT
                                               District of South Carolina

UNITED STATES OF AMERICA                                                 JUDGMENT IN A CRIMINAL CASE

         vs.
                                                                         Case Number: 3:18-78 (002 MGL)
JORETTA JACKSON
                                                                         USM Number: 33167-171

                                                                         Elizabeth Franklin-Best
                                                                         Defendant’s Attorney
THE DEFENDANT:

G     pleaded guilty to count(s)
G     pleaded nolo contendere to count(s)                                       which was accepted by the court.
O     was found guilty on count(s) 2 and 3 of the Indictment after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                Nature of Offense                                          Offense Ended                 Count
26:7212(a)                     Please see Indictment                                        3/9/15                      2
26:7212(a)                     Please see Indictment                                        3/9/15                      3




         The defendant is sentenced as provided in pages 2 through 5 of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
G        The defendant has been found not guilty on count(s)
G        Count(s)                        G is Gare       dismissed on the motion of the United States.
G        Forfeiture provision is hereby dismissed on motion of the United States Attorney.



         It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution, the defendant must notify the court and United States attorney of any material changes in economic
circumstances.

                                                                     ______________________________________________________
                                                                          April 24, 2019
                                                                          Date of Imposition of Judgment
                                                                           s/Mary Geiger Lewis
                                                                           Signature of Judge

                                                                     ______________________________________________________
                                                                          Mary Geiger Lewis, United States District Judge
                                                                          Name and Title of Judge
                                                                           April 29, 2019
                                                                           Date
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       Sheet 4 - Probation                                                                                                    Page 2
DEFENDANT: JORETTA JACKSON
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                                                           PROBATION
     The defendant is hereby sentenced to probation for a term of five (5) years


                                                  MANDATORY CONDITIONS
1.  You must not commit another federal, state or local crime.
2.  You must not unlawfully possess a controlled substance.
3.  You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of placement
    on probation and at least two periodic drug tests thereafter, as determined by the court.
         9 The above drug testing condition is suspended, based on the court’s determination that you pose a low risk of future
         substance abuse. (check if applicable)
4.  You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
5. 9 You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. §20901, et seq.) as
         directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where
         you reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
6. 9 You must participate in an approved program of domestic violence. (check if applicable)
7. 9 You must make restitution in accordance with 18 U.S.C. §§ 2248, 2259, 2264, 2327, 3663, 3663A, and 3664. (check if
         applicable)
8. You must pay the assessment imposed in accordance with 18 U.S.C. § 3013.
9. If this judgment imposes a fine, you must pay in accordance with the Schedule of Payments sheet of this judgment.
10. You must notify the court of any material change in your economic circumstances that might affect your ability to pay restitution,
    fines, or special assessments.

You must comply with the standard conditions that have been adopted by this court as well as with the following special conditions:
1) The defendant shall pay $88,582.70 in restitution to the Internal Revenue Service in minimum monthly installments of $500.00, to
   commence 30 days after imposition of sentence.
2) The defendant must provide the U.S. Probation Office with access to any requested financial information and authorize the release
   of any financial information. The U.S. Probation Office may share financial information with the U.S. Attorney’s Office.
3) The defendant must not incur new credit charges or open additional lines of credit without the approval of the U.S. Probation
   Office.
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       Sheet 4A - Probation                                                                                                         Page 3
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                                     STANDARD CONDITIONS OF SUPERVISION
As part of your probation, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by
probation officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.       You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of
         the time you were sentenced, unless the probation officer instructs you to report to a different probation office or within a
         different time frame.
2.       After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how
         and when you must report to the probation officer, and you must report to the probation officer as instructed.
3.       You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission
         from the court or the probation officer.
4.       You must answer truthfully the questions asked by your probation officer.
5.       You must live at a place approved by the probation officer. If you plan to change where you live or anything about your
         living arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the
         change. If notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify the
         probation officer within 72 hours of becoming aware of a change or expected change.
6.       You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation
         officer to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.       You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation excuses you from
         doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer
         excuses you from doing so. If you plan to change where you work or anything about your work (such as your position or job
         responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at
         least 10 days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
         hours of becoming aware of a change or expected change.
8.       You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has
         been convicted of a felony, you must not knowingly communicate or interact with that person without first getting the
         permission of the probation officer.
9.       If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.      You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything
         that was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as
         nunchakus or tasers).
11.      You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
         without first getting the permission of the court.
12.      If the probation officer determines that you pose a risk to another person (including an organization), the probation officer
         may require you to notify the person about the risk and you must comply with that instruction. The probation officer may
         contact the person and confirm that you have notified the person about the risk.
13.      You must follow the instructions of the probation officer related to the conditions of supervision.


U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at www.uscourts.gov.




Defendant’s Signature _______________________________________________________ Date __________________________


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          Sheet 5 - Criminal Monetary Penalties                                                                                  Page 4
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                                                 CRIMINAL MONETARY PENALTIES
 The defendant shall pay the total criminal monetary penalties under the schedule of payments on Sheet 4.

                    Assessment              JVTA Assessment*         Fine                                    Restitution

 TOTALS             $ 200.00                                      $                                          $


 G    The determination of restitution is deferred until _____________. An Amended Judgment in a Criminal Case(AO245C) will be
      entered after such determination.

 G    The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

    If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless otherwise
    specified in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
    victims must be paid before the United States is paid.
 Name of Payee                           Total Loss**                     Restitution Ordered             Priority or Percentage




TOTALS                                       $                              $


G     Restitution amount ordered pursuant to plea agreement      $

G     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
      the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §3612(f). All of the payment options on Sheet 5 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. §3612(g).

G     The court determined that the defendant does not have the ability to pay interest and it is ordered that:
          G        The interest requirement is waived for the G fine G restitution.
          G        The interest requirement for the G fine G restitution is modified as follows:

*Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
**Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed
on or after September 13, 1994, but before April 23, 1996.



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     Sheet 6 - Schedule of Payments                                                                                              Page 5
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DEFENDANT: JORETTA JACKSON
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                                                 SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:
A    O     Lump sum payment of $200.00 due immediately, balance due

           G    not later than                                      , or

           G                  G C, G D, or G E, or G F below: or
                in accordance with

B    G Payment to begin immediately (may be combined with G C, G D, or G F below); or
C    G     Payment in equal               (e.g., weekly, monthly, quarterly) installments of $                     over a period of
            (e.g., months or years), to commence                    (e.g., 30 or 60 days) after the date of this judgment; or


D    G      Payment in equal                           (e.g., weekly, monthly, quarterly) installments of $                   over a period
           of           (e.g., months or years), to commence                    (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or
E    G     Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release from imprisonment.
           The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or
F    G     Special instructions regarding the payment of criminal monetary penalties:


Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate
Financial Responsibility Program, are made to the clerk of court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

G    Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.




G    The defendant shall pay the cost of prosecution.
G    The defendant shall pay the following court cost(s):
G    The defendant shall forfeit the defendant’s interest in the following property to the United States:

As directed in the Preliminary Order of Forfeiture, filed                  and the said order is incorporated herein as part of this judgment.


Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
